

Matter of Porcari (2020 NY Slip Op 04841)





Matter of Porcari


2020 NY Slip Op 04841


Decided on September 2, 2020


Appellate Division, Second Department


Per Curiam.



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 2, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

ALAN D. SCHEINKMAN, P.J.
WILLIAM F. MASTRO
REINALDO E. RIVERA
MARK C. DILLON
RUTH C. BALKIN, JJ.


2020-01985

[*1]In the Matter of Lawrence A. Porcari, Jr., an attorney and counselor-at-law. Grievance Committee for the Ninth Judicial District, petitioner; Lawrence A. Porcari, Jr., respondent. (Attorney Registration No. 2023349)



MOTION by the Grievance Committee for the Ninth Judicial District to strike the respondent's name from the roll of attorneys and counselors-at-law, pursuant to Judiciary Law § 90(4)(b), based upon his conviction of a felony. The respondent was admitted to the Bar at a term of the Appellate Division of the Supreme Court in the Second Judicial Department on February 26, 1986.



Gary L. Casella, White Plains, NY (Forrest Strauss of counsel), for petitioner.



PER CURIAM.


OPINION &amp; ORDER
On December 16, 2019, following a jury trial presided over by the Honorable David Zuckerman, Justice of the County Court, Westchester County, the respondent was convicted of: (1) corrupting the government in the first degree, in violation of Penal Law § 496.05, a class B felony; (2) grand larceny in the second degree, in violation of Penal Law § 155.40, a class C felony; and (3) defrauding the government, in violation of Penal Law § 195.20, a class E felony.
The Grievance Committee for the Ninth Judicial District moves to strike the respondent's name from the roll of attorneys and counselors-at-law, pursuant to Judiciary Law § 90(4)(b), based upon his felony convictions. Although the respondent was duly served, he has neither opposed the motion nor interposed any response thereto.
Pursuant to Judiciary Law § 90(4)(a), the respondent was automatically disbarred and ceased to be an attorney upon his conviction of a felony.
Accordingly, the motion to strike the respondent's name from the roll of attorneys and counselors-at-law, pursuant to Judiciary Law § 90(4)(b), is granted, to reflect the respondent's automatic disbarment as of December 16, 2019.
SCHEINKMAN, P.J., MASTRO, RIVERA, DILLON and BALKIN, JJ., concur.
ORDERED that the motion of the Grievance Committee for the Ninth Judicial District is granted; and it is further,
ORDERED that pursuant to Judiciary Law § 90(4)(a), the respondent, Lawrence A. Porcari, Jr., is disbarred, effective December 16, 2019, and his name is stricken from the roll of attorneys and counselors-at-law, pursuant to Judiciary Law § 90(4)(b); and it is further,
ORDERED that the respondent, Lawrence A. Porcari, Jr., shall comply with the rules [*2]governing the conduct of disbarred or suspended attorneys (see  22 NYCRR 1240.15); and it is further,
ORDERED that pursuant to Judiciary Law § 90, the respondent, Lawrence A. Porcari, Jr., is commanded to desist and refrain from (1) practicing law in any form, either as principal or as agent, clerk, or employee of another, (2) appearing as an attorney or counselor-at-law before any court, Judge, Justice, board, commission, or other public authority, (3) giving to another an opinion as to the law or its application or any advice in relation thereto, and (4) holding himself out in any way as an attorney and counselor-at-law; and it is further,
ORDERED that if the respondent, Lawrence A. Porcari, Jr., has been issued a secure pass by the Office of Court Administration, it shall be returned forthwith to the issuing agency, and the respondent shall certify to the same in his affidavit of compliance pursuant to 22 NYCRR 1240.15(f).
ENTER:
Aprilanne Agostino
Clerk of the Court








